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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
versus                                           §    CASE NO. 4:11-CR-127
                                                 §
JAMES R. ROMANS                                  §

                                MEMORANDUM AND ORDER

          Pending before the court is Defendant James R. Romans’s (“Romans”) Motion to Dismiss

for Lack of Venue (#526), wherein he argues that there is no evidence that the alleged conspiracy

began, continued, or was completed in the Eastern District of Texas. Having considered the

motion, the response, and the applicable law, the court is of the opinion that the motion should be

denied.

          The Sixth Amendment states that “[i]n all criminal prosecutions, the accused shall enjoy

the right to a speedy and public trial, by an impartial jury of the state and district wherein the

crime shall have been committed . . . .” U.S. CONST. amend. VI. In addition, Rule 18 of the

Federal Rules of Criminal Procedure directs that “unless a statute or these rules permit otherwise,

the government must prosecute an offense in a district where the offense was committed.” FED.

R. CRIM. P. 18. Congress has provided, however, that a federal offense committed in more than

one federal district “may be inquired of or prosecuted in any district in which such offense was

begun, continued or completed.” 18 U.S.C. § 3237(a). Thus, “venue in conspiracy cases is

proper in any district where the agreement was formed or where an overt act in furtherance of the

conspiracy was performed.” United States v. Pomranz, 43 F.3d 156, 158-59 (5th Cir.), cert.

denied, 516 U.S. 986 (1995) (citing United States v. Winship, 724 F.2d 1116, 1125 (5th Cir.

1984)); accord United States v. Garcia Mendoza, 587 F.3d 682, 686 (5th Cir. 2009); United
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States v. Gonzalez, 236 F. App’x 962, 964 (5th Cir. 2007); United States v. Solis, 299 F.3d 420,

445 n.77 (5th Cir.), cert. denied sub nom. Mendez v. United States, 537 U.S. 1060 (2002). “The

Supreme Court has approved this rule despite its dilutent effect upon venue rights, permitting trials

of defendants in districts where they have never set foot.” Winship, 724 F.2d at 1125 (citing Hyde

v. United States, 225 U.S. 347, 362 (1912)). Furthermore, the United States Court of Appeals

for the Fifth Circuit has held that “the prosecution need only show the propriety of venue by a

preponderance of the evidence, not beyond a reasonable doubt.” United States v. Santos, 203 F.

App’x 613, 617 (5th Cir. 2006); accord United States v. Walker, 348 F. App’x 910, 911 (5th Cir.

2009); United States v. Carreon-Palacio, 267 F.3d 381, 390 (5th Cir. 2001); Winship, 724 F.2d

at 1124; United States v. White, 611 F.2d 531, 536 (5th Cir. 1980).

       The First Superseding Indictment (“Indictment”) charges Romans with conspiracy to

possess with the intent to distribute marijuana in violation of 21 U.S.C. § 846 and possession of

a firearm in furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924(c). The

Indictment clearly alleges that the charged violations occurred in the Eastern District of Texas and

elsewhere. Moreover, the Government asserts that, at trial, the evidence will show that some

portion of the marijuana and/or proceeds involved in this conspiracy was transported through the

Eastern District of Texas and that evidence linking Romans to this conspiracy was found in the

Eastern District of Texas. Thus, venue as to the conspiracy charge is proper in the Eastern

District of Texas.    Regarding the firearm charge, if venue is proper as to the underlying

conspiracy, it is proper as to a violation of § 924(c). See Pomranz, 43 F.3d at 162.
        .
       SIGNED
       Accordingly,at Beaumont,
                       Romans’s Texas,
                                 Motionthis   7th day for
                                          to Dismiss  of September, 2004.
                                                          Lack of Venue is DENIED.
       SIGNED at Sherman, Texas, this 13th day of September, 2012.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
